             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:13-cv-00077-MR
             [CRIMINAL CASE NO. 1:09-cr-00013-MR-5]


REGINALD LAMOND FIELDS,          )
                                 )
              Petitioner,        )
                                 )
         vs.                     )                    ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

      THIS MATTER is before the Court on the Petitioner’s Motion to Vacate

under 28 U.S.C. § 2241; Alternative Petition for Writ of Error Coram Nobis;

and Alternative Petition for a Writ of Audita Querela [Doc. 1].

      On March 6, 2015, the Petitioner, through counsel, filed a motion to

reduce his sentence in his criminal case pursuant to 18 U.S.C. § 3582 and

Guidelines Amendments 780/782. [Criminal Case No. 1:09-cr-00013-MR-5

(“CR”), Doc. 769].     The Government filed a response in support of

Petitioner’s motion on March 16, 2015. [CR Doc. 772]. On March 17, 2015,

the Court granted the Petitioner’s § 3582 motion and reduced his sentence

to time served. [CR Doc. 773]. The Petitioner has been released from




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confinement and has begun his ten-year term of supervised release imposed

as a part of his original sentence. [See CR Doc. 485 at 3].

       In this matter, the Petitioner seeks resentencing without the application

of the mandatory minimum result from the filing of a 21 U.S.C. § 851

Information in his criminal case. [See CR Doc. 158]. As his basis for seeking

such relief, the Petitioner contends that his underlying North Carolina drug

trafficking conviction is not a predicate “felony drug offense,” as defined by

21 U.S.C. § 802(44), citing United States v. Simmons, 649 F.3d 237 (4th Cir.

2011) (en banc). [Doc. 1 at 2].

       The Court concludes that the Petitioner’s North Carolina drug

trafficking conviction identified in the Government’s § 851 notice and does

not constitute a “felony drug offense” in light of Simmons. However, because

Petitioner has previously sought relief pursuant to 28 USC § 2255 and was

denied, relief is available at this point pursuant to § 2241 only to the extent

that Petitioner’s sentence was an illegal sentence. The question of whether

Petitioner’s term of imprisonment should be reviewed is moot because the

Petitioner was released from prison in March 2015.1                       The Petitioner,

however, remains subject to a term of supervised release. Without the

application of the enhanced statutory range the supervised release penalties


1 It is noted that Petitioner’s term of imprisonment was within the correct statutory range.


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applicable to the Petitioner pursuant to 21 U.S.C. § 841(b)(1)(A) (the

statutory provision governing Petitioner’s offense of conviction) are reduced.

See United States v. Fair, No. 14-4714, slip op. at 6-7 (4th Cir. May 11, 2015)

(unpublished) (defendant who was resentenced without application of

Simmons-infirm § 851 notice entitled to receive reduced mandatory

supervised release term under 21 U.S.C. § 841). Accordingly, the

Petitioner’s Judgment should be amended to impose a term of supervised

release of five (5) years.

      IT IS, THEREFORE, ORDERED that the Petitioner’s Petition [Doc. 1]

is GRANTED, and the ten-year term of supervised release imposed in the

Petitioner’s original Judgment [Criminal Case No. 1:09-cr-00013-MR-5, Doc.

485] is hereby VACATED and shall be AMENDED to state that the Petitioner

shall be placed on a term of supervised release for a period of five (5) years.

      The Clerk of Court is respectfully directed to prepare an Amended

Judgment consistent with this Order.

      IT IS SO ORDERED.
                                    Signed: May 20, 2015




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